          Case 1:10-vv-00636-UNJ Document 51 Filed 10/10/14 Page 1 of 2




       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 10-636V
                                    Filed: September 16, 2014

* * * * * * * * * * * * * * * *
                                                *         UNPUBLISHED
LINDA WATKINS                                   *
                                                *         Special Master Gowen
               Petitioner,                      *
                                                *         Attorneys’ Fees and Costs;
v.                                              *         Reasonable Amount Requested to
                                                *         which Respondent Does Not Object.
SECRETARY OF HEALTH                             *
AND HUMAN SERVICES,                             *
                                                *
               Respondent.                      *
* * * * * * * * * * * * * * * *
Christopher T. Castro, Lafayette, LA, for petitioner.
Lisa A. Watts, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On September 22, 2010, Linda Watkins (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that she suffered from anaphylaxis or anaphylactic shock, injuries to her
respiratory tract and esophagus, and brachial neuritis as a result of receiving a pneumococcal
vaccine, a tetanus diphtheria vaccine, and an influenza vaccine on October 1, 2007. Petition at 1.
On August 25, 2014, a decision was entered awarding compensation based on the parties’
stipulation.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
          Case 1:10-vv-00636-UNJ Document 51 Filed 10/10/14 Page 2 of 2




        On September 16, 2014, the parties filed a Stipulation of Fact Concerning Attorneys’
Fees and Costs. According to the stipulation, the parties stipulate to a total award to petitioner of
attorneys’ fees and costs in the amount of $50,707.41. In accordance with General Order #9,
petitioner’s counsel filed a statement on September 16, 2014 representing that petitioner did not
personally incur any fees or costs related to the prosecution of this case. See Petitioner’s General
Order Number 9 Statement, dated Sept. 16, 2014, at 1. The parties stipulate that the total award
of $50,707.41 includes petitioner’s attorneys’ fees in the amount of $26,250.00 and attorneys’
costs in the amount of $24,457.41. See J. Status Rep., filed Sept. 16, 2014.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1)     in the form of a check jointly payable to petitioner and to petitioner’s attorney,
               Christopher T. Castro, of Galloway Jefcoat LLP, in the amount of $50,707.41.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.

       IT IS SO ORDERED.

                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




                                                 2
